                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSE


                                 ) Civil Action No.: 3:17-cv-01338
DARIKA JONES,                    )
          Plaintiff,             )
                                 )
     vs.                         )
                                 ) NOTICE OF SETTLEMENT
                                 )
GC SERVICES LIMITED PARTNERSHIP, )
          Defendant.             )
                                 )


                                  NOTICE OF SETTLEMENT

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached a

settlement. The Plaintiff anticipates filing a stipulation of dismissal of this action with prejudice

pursuant to FED. R. CIV. P. 41(a) within 60 days. The Plaintiff requests that the Court clear the

calendar in the interim pending full performance on the settlement terms and subsequent filing of

the aforementioned dismissal.


Dated this 1st day of December 2017

                                                       Respectfully Submitted,




                                                       /s/_Susan S. Lafferty
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